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                        Exhibit B

Statement of Deputy Attorney
     General Peyton Ford
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                                     AND NATIONALITY    01/29/21
                                                     LAWS  711   Pag
          STATEMENT OF PEYTON FORD, DEPUTY ATTORNEY GENERAL
                                                  DEPARTMENT OF JUSTICE,
                                  OFFICE OF   THE DEPUTY ATTORNEY G      nERAL,,
                                                          Washington, Map 14, 1951.
    11011. PAT MOCARNAN,
          Chairman, Committee on the JuicilarV,
               United States Sonate, Washlngton, D. (T.
       My DEAR SENATOR: This Is in response to your request for the views of the
    Department of Justice relative to the bill (S. 710) to revise the laws relating
    to immigration, naturalization, and nationality; and for other purposes.
       The bill would codify and fn many particulars revise existing laws relating
    to immigration, naturalization, and nationality. The principal statutes to which
    the bill relates are the Immigration Act of 1917; the act of October 10, 1918, as
    amended, known as the Anarchist Act; the Immigration Act of 1924; the National-
    ity Act of 1940, as amended; and the Allen Registration Act of 1940.
        In view of the request from your committee to submit a report as soon as possi-
    ble, a detailed analysis and comment on each section of the bill has not been
    possible. This report will deal only with some of the more important phases
    of the measure and does not necessarily imply approval or disapproval of all
    other sections of the bill.
        Section 108: This section describes the authority, powers, and duties of the
    Attorney General as well as the Commissioner in relation to the administration
    of the bill. It is suggested that the language be amended so that the Attorney
    General's power to delegate his authority will not necessarily be limited to mem-
    bers of the Immigration and Naturalization Service but may include other mem-
    bers of the Department, including those of the, Board of Immigration Appeals.
    This may be accomplished by inserting after the word "them" on page 23, line
    17 of the bill, the following, "or to any officer or employee of the Department of
    Justice." Similarly in line 20, on the same page, after the word "Service" Insert
    the term "or the Department," On line 18 of the same page the word "other"
    should be made to read "of the."
        Sections 103 (b) and 104 (a) : These subsections provide that the Commissioner
    of Immigration and Naturalization and the administrator of the Bureau of Pass-
    ports, Visas, Security, and Consular Affairs of time Department of State, respec-
    tively, shall be native-born citizens of the United States, The Department of
    Justice Is opposed to these provisions of the bill because they place an unwar-
    ranted restriction upon the right of a citizen to hold those public offices. Further-
    more, the President should not be precluded from appointing qualified persons
    merely because they are not native-born citizens of the United States. In the case
    of the Commissioner the 'appointment would also have to be confirmed by the
    Senate which thus would have an opportunity to pass upon the appointee's
    qualifications.
       .Section 100: Section 19 of the Immigration Act of February 5, 1917 (8
    U. S, C. 155), provided that an alien falling within certain deportable classes
    should be taken into custody and deported on the warrant of Attorney General
    and that his decision should be final. In exclusion cases (sees, 16 and 17, act of
    February 5, 1917) a somewhat fuller provision was made whereby an alien who
    was not found clearly entitled to land by an examining inspector would be
    held for a Board of Special Inquiry whose decision would be final unless appealed
    to the Attorney General. So far as judicial review is concerned, the immigra-
    tion statutes were silent. Over some three-quarters of a century there developed
    a process of judicial review through the writ of habeas corpus. The main effect
    of section 100 is to spell out for time first time the power of judicial review of
    the administrative process. The administrative process is detailed with refer-
    ence to exclusion in section 286, and with reference to deportation in section
    242 of the bill, The provisions of sections 230, 242, and 106 taken together
    express in statutory terms what has been developed over the course of years
    as the means of administering the laws and having that administration reviewed
    through judicial process. It differs from the Administrative Procedure Act,
    which the Department believed to be inapplicable to Immigration processes prior
    to the Supreme Court decision In Wong Yang Rung v. MeGrath (889 U. S. 88),
    decided February 20, 1950, The result of that decision was a provision in the
    Supplemental Appropriations Act for the fiscal year 1951, approved September
    27, 1950, providing that admit)itrative hearings under the immigration processes
    should not adhere to the adjudicative provisions of the Administrative Procedure
    Act, Section 106 of this bill undertakes to state what has been the traditional
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        provision for Judicial review, 1, e., habeas corpus, That writ affords the expedi-
        tious consideration so necessary if the iuonigration statutes are to be effectively
        enforced. The provisions of sections 100, 230, and 242 afford a time-tested and
        efficient procedure for the administration of this bill,
           If deportation hearings under the bill were to be subjected to tie requirements
        of the Administrative Procedure Act it is estimated, according to a study made
        last year by the Immigration and Naturalization Service in conjunction with the
        Bureau of the Budget, that tie cost of conducting such hearings, together with
        incidental expenses, would be approximately an additional $4,400,000 for the
        first year and probably more for subsequent years.
           Sections 201 and 202: These sections provide 'for revised quotas for all areas
        of the world, with certain limitations resulting in"  a total quota approximating
        that existing under present laws, They remove racial ineligibility, as such, to
        admission under the quotas and provide a maximum quota for colonial posses-
        sions so that such colonial possessions can no longer utilize the unused quotas
        of the mother country. A separate quota is provided for any person who, al-
       though born outside the Asia-Pacific triangle area, is nonetheless attributable by
        as much as one-half of his ancestry to a people or peoples indigenous to the
        Asia-Pacific triangle. The Department of Justice favors the removal of racial
        bars to Immigration.
           Section 203: This section sets up a basis for selective quota immigration.
       Whereas tinder present law a limited number of the quotas for each nationality
        are available to near relatives of citizens or domiciled aliens, the remainder of
        the quota of each nationality is available to new seed, self-initiated immigration
       on the basis of "'firstcome, first served." Tits proposal is a departure from that
       program. It undertakes to fix definite percentages for the utilization of the full
       quota of each country. Fifty percent would be available only upon application
        made to the Attorney General by persons who can show that they are urgently
        in need of specialized services of an individual alien and upon a finding by the
       Attorney General that such services would contribute to the critical, economic,
       and national welfare of the United States. Thirty percent would be available to
       the parents of citizens of the United States and 20 percent would be available
       to the spouses and children of alien residents of the United States. While this
       theoretically consumes the annual quota, should applications be insufficient to
       consume such quota, 10 percent of the unused residue would be available for the
        issuance of visas to other qualified immigrants, and one-half of thi 10 percent
       would first be offered to the b-otbers and sisters of citizens of the United States.
          The Department of Justice objects to the provisions of this section. On the
       basis of past experience it is virtually certain that the operation of this section
       will result in a substantial diminution of the actual quotas available to many
       countries, and will pro tanto defeat the intent of'Congress in fixing such quotas
       for admissible aliens, It may reasonably be anticipated that only a negligible
       number of visas will be issued within each classification established under sec-
       tion 208 (a) (1) (2) (8). Since section 208 (a) (4) permits a maximum of
       10 percent of the unused quotas In each class to be available to now seed, with
       a possibility of further reduction to 5 percent, a drastic curtailment of immigra.
       tion not within the general contemplation of the bill will result. To avoid this
       unintended eventuality, the Department believes that the Congress may wish to
       revise the percentages for the quota classifications. In any event, the Depart-
       ment urges that this section be amended to provide that the unused residue
       of the, quotas by the classes enumerated should be usable in each quota area
       for self-initiated new immigration.
          Section 212: This provision sets up many grounds for exclusion of aliens not
       contained in the present laws. While the question as to what aliens should
       be excluded Is in general one of legislative policy, the Department desires to call
       attention to section 212 (a) (14) which might he construed as excluding any
       alien from entering the United. States as an immigrant If he is a skilled or
       unskilled laborer, unless unemployed persons cannot be found to perform such
       labor, The present law which excludes aliens of such classes has reference to
       those coming under contracts or prearrangements to perform such labor and is
       generally referred to as "contract labor" provisions of the immigration laws.
       No: uch provisions are found in this bill. Apparently it is intended that the ex-.
       cluslon shall not be based on any relation to preyrr4nged or contracted em-
       ployment but shall be governed by this paragraph, and section 203 (a) (1)
       which provides for selective immigration and section 101 (a) (14). (U), which
       requires a previols fWing of need, for the services, of the individual in the
       United, tateo, except those classes mentioned in I1PI(a) (26) (A) or (B) and

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       203 (a) (1) (2) or (3), or the preference category described in 203 (a) (4),
       which are based upon relationship to citizens or domiciled aliens in tils coun-
       try. It is not made clear whether an alien who is a skilled or unskilled laborer
       and desires to enter this country to settle here will be excluded solely because
       of the nature of his past employment and prospective future employment. The
      Department of Justice recommends that these provisions be clarified to provide
       that laborers desiring to enter this country will not be barred solely because
       their prospective employment will be as laborers.
          Section 212 (a) (0) : This subsection provides, In part, that aliens who admit
      committing acts which constitute the essential elements of a crime involving
       moral turpitude other than a purely political offense, or aliens whose admis-
      sions are tantamount to a confession of guilt of such a crime, shall be ineligible
      to receive visas and shall be excluded from admission into the United States.
      Section 3 of the Immigration Act of 1917 provides for the exclusion of aliens
      who admit having committed a felony or crime. The Department believes that
       the present provisions of law are adequate to protect the interest of the United
      States as well as being fair to the alien.
          Section 212 (a) (28) (1) : This paragraph provides a means whereby a past
      member or affiliate of the Communist Party or other subversive groups may
      enter the United States by showing that his membership was involuntary, or
      that it terminated prior to the age of 14 years, or that he was opposed to the
      principles of such an organization for the last 2 years, The latter provision
      is a liberalization of existing law. It is in conflict with Public Law No. 14,
      Eighty-second Congress, approved March 28, 1951.' Public Law No. 14 gives no
      benefits to persons wile voluntarily were or are Communists or affiliated with
      Communist organizations. However, It does grant benefits to persons who were
      involuntarily members or were members under other mentioned circumstances.
      This bill additionally provides for the person who, Irrespective of whether he
      was a voluntary member.. has for 2 years evidenced opposition to the tenets of
      conln uism. Since Congress has so recently considered this subject it would
      not swn that the law should be changed at this time at a possible risk to the
      internal security. Furthermore, tlere are at present no adequate or satisfac-
      tory means of performing the necessary investigations, some of which might
      lead to places far behind the iron curtain, which would be necessary to separate
      those who are truly repentent Communists from among those who may claim to
      be but are not.
         Section 212 (d) (5I) : There is no provision In existing law for the parole into
      the United States of an alien applying for admission at a port of entry. There
      has long been a perhaps questionable administrative practice of nevertheless
      paroling aliens under emergent and humanitarian circumstances. This Depart-
      ment has no objection to giving statutory force and effect to such practice. It
      does believe, however, that there might be some modification of the language
      of this provision which would more likely be efficacious in the administration
      of the law. For that reason it is suggested that on line 21, page 58 the language
      be changed to read as follows:
               "(5) The Attorney General may in his discretion parole Into the United
            States temporarily under such eoaditions as he may prescribe for emergent
            reasons or for reasons deemed strictly in the pubile interest any alien apply-
            ing for admiselon to the United States, hut such parole of such alien shall not
            be regarded is an admission of the alien and when the purposes of such
            parole shall, In the opinion of the Attorney General, have been served the
            alien shall forthwith return or be returned to the custody from which
            he was paroled and thereafter hJs case shall continue to be dealt with in
            the same manner as that of any other applicant for admission to the
            United States."
         Section 283 (c)* This subsection provides a new basis upon w ich carriers
      may claim relief from the payment of detention expenses in the cases of arriving
      aliens. A carrier will not be responsible for such expenses if the allen was in
      possession of an unexpired visa or other document Issued by a consular officer,
      and if the carrier establishes to the satisfaction of the Attorney General that
      the ground of detention could not have been ascertained by the exercise of due
      diligence prior to tho alien's embarkation. Under existing law, carriers are
      relieved from detention expenses only if the alien had an unexpired visa issued
      not more than 60 days prior to his embarkation, and then only if the alien is
      excluded or detained on certain documentary charges. The Department calls
      attention to the fact that the language of the last clause of subsection (c) is ob-
      scure and will undoubtedly lead to litigation and controversy. No expression of
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      congressional intent is contained In the bill with rspoet to the meilnig of the
       term -'ground for detention." Furthermore, since an lnttllgriition ofilcer, nderl
      the bill, has the discretionary power to remove amiy lien temportilly from a
      vessel, etc,, for the purpose of conducting tie necessary Inspection, itisinobahe
      that controversies will ensue tis to whether the it rrler is Ilaiie for tlie dot ent ion
      expenses in those cases whore the alien is ultimately ilttted to the United
      States. Ilkfact, It Is pr~bable that In every case where tie alien is ultiumely
      admitted, the carrier will seek to Assert that It could not have ttscertalned hy
       the exercise of due diligence the "ground ofi detention," tul te carrier will
      probably claim that there was no "ground of detentlon." This provision Is it
      aid of foreign transport companies itswell itsthose that tire Anotl'tn.
         While the Departuent Is unable to estimate tncetUrately whntithe cost will be
      to the Government if this cluinge Is tItitdo with respect to liab1llty for detention
      eXilenses, since future detentions catnot, of cotirso, be ktnW titthis time, It Is
      believed thant upotn the basis of 1itst e.Xhience, the chanl1ge wIll cost the Gov-
      erntent at lea~t$46t0,t00 per year. There would ilppettr       to be no justilleailhon
      for further shifting this expense incident to alien trailed         to the American
      taxpayers.
         Section 23T (a) This subsection sets up a tnew ground upon the busts of which
      carriers may claim relief front detention and deportatitlon eXpenses of exlt'lldedi
      allelis. .0urthertnore, It changes existing low In that It does not specify the
      place to which an excluded alien is to be deported, This sbseetion contains
      language similar to that contained In section 233 ((-) discussed iibove, However,
      thie'instailt section conttains another oxemption which would relieve tlie cattrier
      from "expenses incident to deportittlon" of an excluded atlen. Under this see-
      tion, If an alien is excluded, it will be necessary for the government to piurcinse
      his transportation back to the foreign port of enbarkttion e' to soie other
      forelgn'place. WIlle the Department is in no positloti at this thne to estiliate
      the cost to the Goverunent If tie expenses of transportation Il the ettseof
      excluded aliens tire to be transferred to the Governnent, attention Is alled to
      the fact that during the fiscal year 1950 the expenses to the carriers of returning
      excluded aliens grom ports of entry other than border ports, amounted to about
      $320,000, The effect of the provision is that tin additional financial burden Is
      being transferred to the (Government thus providing a subsidy not only for
      American catrrIers but also for the tunny foreign carriers engaged In britiging
      passougeurs to the United States. Such a proposal, it is believed, is objectionable.
         Closely allied to the foregoing is a change which would result If section 237 (b)
      is enacted, since, under the provision Itwould no longer be a liUnisltbie offense
      for a otrrier to Impso t charge upon a deported alien for payment of his return
      Paissaige.
          Section 241 (a): This subsection sets up the deportablo clses of alletis.
      These grounds differ in many important respects front existing grounds of
      deportation. Fiurthernore, the bill removes the tlue limit now appllitle too
      certain grounds of deportatiolt.    It Is to be noted that whereas section 211 (it)
       (1) provides for the deportittlon of an Allen who at the tilae of entry was within
      one ornore of the classes of aliens excludable by law, section 241 (d) pornitts
      the deportation of any allen found deportablo tinder the new grounds for
      deportation (but not exclusion) set up in the bill, regardless of how long lie
      has been In this cotintry. The h)epartment of Justice linsno objection to the
      provisions of this subsection.
          Section 241 (a) (4) (11) :This subsection provides for the deportatIon (if tn
      alien "who tdmlts connitting within 6 years after entry nets which constitute
      the essential eletets of 6 critit      iunovingmoral turpitude, or whose adtmission
      Is tantamount to itconfession of guilt of 'uch crime, ' Under present lawv it is
      necessary to secure the conviction of (mi Allen before lie is deportable. The
      provisions of present law are believed to be Adequate in this respect.
         Sectlio. 243 (u) : This subsection hrap)ges existing law with respect to the
      countries :owhich an allen should be deported. Section 20 (a) of the .1917 act,
      as amended by tie Internal Security Act of 1950, contains a provision to the
      effect that deportation must be directed by the Attorney (General to a Country
      speifled by the allen, if that country ls-wllng (o accept him. No such pro.
      vision was contained Iii prior law. It is, however, Again set forth in section
      243 (a) of this bill, with the further new limitation that no alien siml ble
      permitted to mattke riore than one such designation, tItis suggested that yoitr
      conpuittee may desire to give this proposal further consIderation.
         In the mstort tlIme which has elapsed slice the Internal Securlty Act was
      passed serious question has arisen as to whether this provision Is not contrary
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     to tie best interests of tih(United Slates. MalliyEItropelin a liens are sputcifying
     Miexio or Caatla is telit country to which they wish to he deported. It is
     obvious that if Kucth iountries aeoept the wallets, reentry front much territory
                           Is ellsily possible.
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                                                                         specify that
     they wish to lie (leitorted to various "iron eurtain" counties. When this Gov-
     eovlliietit litiieiipts to obtttin consent froin sorh countries for return of sulch
     alliel,    ilaittilrit' receive nio response whaiit soever. T'ho aillenIs protected li tile
     niajority of Cases by tileprovision of set ton 243 (a) whieh wotiid reiiuire that
     lit be first ordered delortled to thie cottllry of which lie Is itHubjet't, notlolnill
     or citlylel, if Hueh collillitry is willing t accept. lint, and by flt provision of
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     Atloriley (hPueital shll i hIls discrelhion iil that such allen would btesulliet
     to physia l liteiectliol.
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               tt, (Otlliltvy lto                                             , It Is ulged
     that lits hole I' restrieled li two ways, I.e., (1) thlt no 111ei1 he allowed to
     designate forelgl conllguolls territory or Ishlt ds ladjacent           thereto 1is thlo
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     o' clt,ttli of thle diesigilt Iid clot ry, ald (2) thatf if tll eollntry esignalted by
     h11imfails to eI'oltlid to illiul is  by the Unlted Stles      overtint
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     oli,frflvo and (lie Attorney (llerlill    11nt11y
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     ( lit, sall lttilleas Ift the designated coluntry had reutllsed to li.(lopt h1n1t.
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     goltillolis  tor lit,  refturlof ie alt       it)thi collillry  or which he Is it subject,
     nattomtil, or eltizonl, if sii utegotitllotis tire rtlteeii futile by reflisal of tho
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     goveriltleli Is willing to aetltt          i l en hlIto Its territory. ''he bill should
     llot. pttie i the lanlmds of litly'  foreign goV'eritiiit tit, loio'wer t) dolty or defeat
     deporttiton by rell llof i le failure of such foreign govetutlolet to respond to
     inquiries by the United States, It Is tlso recoittl         itnded thlt It t atet ISi to
     tbeperinitted to select a ptirtitihlr colintry to whilh ile Is to lie delportedt,     suili
     uhohe will not be permattted if the Attorney General,          i hIls discretion, on the
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     licI                                                 to t le interests of tlhe Unlited
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       Accordingly, the       pertnimtiet of Jllstiee
                                                   recollttuetlds th1t. the following bo
     substitted for the opening paragraph of section 243 (i) Iti lieu of lines 21 to 25
     olt           and ilites I through 11ou page 1141:
               110pageI
            "St.    243 (a). The dlortat ion of ilnalleti iii the Unit(d1 States. provided
         for in thils Act, or any other Act of Coiigvess or treaty, Rthll bit dihected
         by tlie Attorney UettorI to It outilry roitiptiy desigiitted by the allen, If
         that voiltitry Is willig to accept ii      uto Its territory, unless the Attorney
         (.lelnerat Ill its diseretli, eConelides that deporttiotn to much collitrywould
         te prInjudiclal to tileInterests of the United States. No            sitll be oer-
                                                                          allen
         intited to nake eiorethan onae such designation, nor aliull any allen designate,
         Iistilepi1ltne to which0 ito wishes to te de(o)rted, any forelgi territory coil-
          tlkitcs to tile
                        Utilled States or aty Island adjirot,thereto or to the Untited
          Stat utlloss slel alien Is a native, citlen, subject, or intlotill of such
          desigllted foreign couttlgtuos territory or iolljtieutt Islanul, If the gov-
          tluitliell of tile
                           (Olllrty designated by the alietn fails finally to advise the
           Attorney Celnerill wthtitn three inoutits following or'igaiual itiqutry whether
          that govol'.1111ultt will otrwill l1otaccelit suii aielln into its territory, sueh
          desiglation 1hall thereliffer lie dlregairded. Thereupon deport action of suchl
          allen shall hk dtrected to hay cotitry of which Icih alien Is a subject,
          itonlil, or ctizellIf mueh eolltry is willing to accelt lih hilo its territory.
          If tile govorlinet. of such ountry fatls finally to advise tile Attorney
          tUeueral or tlhe1leti within three miont hs followig the date of origlhal
          Inquiry, or within much other lriod        as the Attorney ( enera sliall deem
          lelisolt tile ulid'erthe eirculllstallves Inl it partleula    v ase' whether that
          govertnlent will or wIll not accept, steh aien Inlo Its territory, then such
          deol)irtilo shall lie dilrected by lhe Attorntey (General widilnt his diserellou
          an11dwithout te.estil-ly gting anlly     priority or pieforence because ioftheir
          order ms hereli set forth, eltler,"
       Section 243 (a) - This siboseetiton iultiges exlst-Iig law Ity limiting to a greater
     exteitt the liability of arrlers for deportat ol opeulotlses of certati allits. Ii this
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       connection attenton is called to the discussions above relating to sections
      233 (c) and 287 (a). Estimate of the additional expenses which will be imposed
       upon the Government if this subsection is enacted is not possible at this time.
           Section 273 (d): This subsection denies to stowaways the right to a hearing
       before a special inquiry officer in connection with his exclusion from the United
       States. The Department favors the enactment of such provisions. The sub-
       section also prescribes a fine for failing to discover and present alien stowaways
       to pn immigration office for Inspection, or failure to detain such a stowaway,
       prior to or after inspection, if ordered to do so. These provisions are somewhat
       slmllar to legislation which the Department has sponsored for several years
       in connection with stowaways. If stowaways are not permitted to embark
       for the United States, there will be no fines and the objectives of the provision
       will be reached. However, the language which appears on lines 9,10, and 11,
      page 150, "to discover and present any alien stowaway on board to an mlmigra-
       tion officer for the inspection .or who fails" does not appear in the legislation
       sponsored by the Department. Since that language might be considered to be
       somewhat incongruous, and since the other duties imposed upon the carrier
      by this subsection would appear to suffice, the Department perceives no objection
       to the elimination qf the quoted language.
         'Section 278 (e) :This subsection would impose a $600 fine upon a carrier
       who discovers and presents an alien stowaway on board to an immigration
      .officer for inspection. The fine may be mitigated to $200 under certain condi-
       tions. This sftsection is somewhat similar to that which the Department has
       for several years proposed as amendatory legislation. It differs from such
       proposals in that the fine contained in S.710 is $500, whereas the Department
       has recommended a $1,000 fine.
           Section 274: This section makes substantive changes in the law with regard
       to the offenses which will be committed in the illegal bringing of aliens to tile
       United States, As drafted, the section should overcome the deficiencies now
       found in section 8 of the Immigration Act of 1917 os illustrated by tile         decision
       of the Supreme Court in United States v. Evans (883 U. S.483). The Depart-
       meat has sponsored legislation of this nature for several years, In order to
      Accomplish the purpose of protecting the United States to a fuller extent, and
       to assist the Government in enforcing these provisions, it is suggested that
       paragraph (2) be revised, and that there be added, a new paragraph (3) and
       paragraph (4) as follows:
                  "11(2) conceals, harbors, or shields fromi detection, or attempts to conceal,
              harbor, or shield from detection in any place (including any building or
              any means of transporttalon) ; or
                   (8)encourages or induces, or attempts to encourage or induce, either di-
              rectly or indirectly, the entry of; or
                   (4) knowingly employs or offers to employ, either directly or indirectly,
              except as may be permitted by law or regulations promulgated pursuant to
              law,,
           Section 270: This section Is designed to replace provisions ilow found in
      ,existing law with respect to the criminal offenses which will be committed if a
       previously deported alien returns to the United States, It adds to existing
       law by creating a crime which will be committed if a previously deported alien
      '1 subsequently found in the United States. This change would overcome the
       Inadequacies in existing law'which have been observed in those cAsos in whicl
       it is not possible for the Immigration and Naturalization Service to establish the
       place of reentry, and hence the proper venue, arising in prosecutions against a
       dieportAd alten under the 1929 act.
          However,' it iS believed that the language of section 276 is 'somewhat obscure,
       particularly the It.nguage beginning on line 10,. page 154, reading "and if such
       alien is at Any time found in the United States, unltas he shall establish that
       he,has bein -lawfully admitted,". It is suggested that for clarity, paragraph (2)
      :be revised-to read as follows:                                       p
                I 0f(2)  enterS, attempts to enter, or is at at'ytime ofi       in, the United
              $tates, aless (A)'ptibr to hls reealbirkation at a place outside the United
              States or his application fox' ad nisslon from foreign contiguous terri  tory, the
              Attorney: General has' elprsly ofisented to seib 'alien's reapply ng for
            .'admission' or (B)'with rep(Ot to'n alien orevioiusfy excluded and deported,
              unless Sudh alien shall establIsh   , that he wpS not.refIrbd to obtain such
              fdadancd oonent under this' orany prior act; sbiat4be gity Qf a felony,
             li'and upon onvicti thereof, be punish'ed by Ibpiipsbnmeint of not more than
              Irw  o years, or by a fine of not more than $1,000 or both," '
                                    /                         /1
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         Section 284: This section evidently proposes a codification of the existing law
      (act of March 2, 1981, and act of August 22, 1940, 8 U. S. C, 109 (a), (b) and
       (c)). However, it is believed that the section should be revised so as sub-
      stantially to carry forward the provisions of the Act of March 2, 1031, and
      August 22, 1940, as construed by the United States Court of Claims in R nner v.
      United States (106 C. Cls. 077) and Taylor v. United States (114 C. Cls. 59).
      These decisions make clear that the United States is liable to employees for
      overtime and Sunday and holiday extra compensation. Considerable difficulty
      has been experienced in administering the proviso In section 109 (b) which
      relates primarily to border traffic, It has never been clear under thin last-
      mentioned proviso Just what means of transportation or of travel were exempt
      from the reimbursement requirements. Even now, questions are pending result-
      ing from challenges of interpretations of the existing law which would apply
      reimbursement provisions to busses and would prospectively likely require deter-
       rmination as to whether reimbursement must be demanded from taxicabs,
      chartered means of conveyance, etc. Though the law here amended was pat-
      terned generally after section 5 of the Customs Act of February 18, 1911, as
      amended in 1920 (19 U. S. C. 267), which is related to sections of the Tariff
      Act (19 U. S. C. 1401, 1450, 1451), the provisions respecting reimbursement
      with reference to the Customs and Immigration Service have never been exactly
      the same.
         It is suggested that section 284 be amended in a manner which would bring
      the legislation relating to the Customs and Immigration Services more nearly
      in harmony. As nearly as can be estimated, section 284 would result In the
      exemption from reimbursement of all border carriers amounting to approxi-
      mately $260,000 annually, such cost to be assumed by the appropriation of the
      Immigration and Naturalization Service. It should be understood, however,
      that much of this cost will be offset by savings in curtailing costs in adminis-
      tration and collections under the reimbursement provisions, It has been found
      most difficult to administer the existing law along the ,borders where partial
      exemptions are provided. Congress doubtless has realized that a different
      situation existed concerning strictly border traffic from transoceanic traffic but
       the recognition as expressed in partial exemptions has created an administrative
      problem which should be solved both in the interests of the Government and the
      traveling public. Accordingly, amendment of section 284 is recommended as
      follows:
                "Sac. 284 (a). The Attorney General shall pay extra compensation to Im-
            migration officers and other employees of the Service, who are required (1)
            to remain on duty between the hours of five o'clock postmerldian and eight
            o'clock antemerldian on any day, to examine passengers, crews, or persons
            arriving in the United States from a foreign port by vessels, airplanes, or
            other means of transportation, or on foot, or (2) to perform the duties de-
            scribed in clause 0) on Sundays or holidays., Such compensation shall be
            on the following basis: for services under clause (1), one-half day's addi-
            tional pay for each two hours or fraction thereof of at least one hour that the
            remaining on duty time extends beyond five o'clock postmeridian (but not to
            exceed two and one-half day's pay for tie full period from five o'clock post-
            meridian to 8 o'clock antemeridian) ;and for services under clause (2), two
            additional days' pay for not to exceed eight continuous hours of such duty en
            any Sunday or holiday, excluding time allowed for food and rest. Such extra
             compensation shall be paid to snob officers or employees who have been
             ordered to report for duty and have so reported, whether the actual Inspection
             or examination mentioned in this subsection takes place or not, The Attorney
            General is authorized to regulate the hours of such employees so as to agree
             with th prevallina hours in said ports but nothing in this section shall be
             construed in any nianner to effect or alter the extra e.umpensation heroin
             fixed.
                (b) The master, owner, agent, consignee, and person in charge of any ves-
            Sel, airplane, or other means of transportation by which such passengers,
            crewmen, or persons arrived in the United States from a foreign place shall
            pay to the Attorney General the ektra compensation provided for in subsec-
            tion (a), and they shall be Jointly and severally liable for such payment and
            such obligation shall constitute and be collected as a debt owed to the United
            'States: Provded, thtt this subsection shall not apply to liability arising
            frow inspection at designated pottp of entry of passengers crewmen, or per-
            sons, when arriving (1) by airplane within regular sfiedules from any
            toteilgt Place, or (2) Irom foreign contiguous territory across or over the
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            common land or water boundirles by any means of transportation other
            than by airplane as provided in clause '(1), or by, through, upon or heross.
            any bridge, tunnel, or other fixed facility between such territory and the
            United States.
                (c) ,Monies collected on or after July 1, 1941, as extra compensation for
            b ,rvlees of Immigration Officers and other employees of the Service, shall be.
            deposited in the Treasury of the United States to the credit of tile appropria-
            tion for the payment of salaries and expenses of the Service, and that
            appropriation, including the amount credited thereto under the provisions of
            this subsection, shall -be available for the payment of such extra
            compensation."
          Section 287: This section grants authority to officers of the Service to admin.
      sister oaths and to conduct searches, under certain circumnstances, of the person
      of applicants for admission to the United States. So fartas they go the provi-
      sions of section 287 are highly desirable. However, the bill, as drafted, does not
      contain any specific language giving authority to Immigration oflcers to go upon
      private property for the purpose of ir -rrogating aliens or persons believed to
      be aliens. This authority is particmarly neede.l in those cases in which it
      becomes necessary to go upon a ranch or farm having an area of thousands of
      acres, to interrogate an alien known to be there. For tlint purpose, it is sug-
      gested that a new subsection (d) be added to section 287, reading as follows:
               "(d) Any employee.of the Service authorized and designated under regu-
            lations prescribed by the Attorney General, whether individually or as one
            of a class, shall have power and authority, while engaged in the perform-
            ance of his duties in the administration of the provisions of this Act, to go
            upon or within any private property, other than a dwelling, within or upon
            which be believes there are aliens, for the purinsge of interrogatinlg such
            aliens concerning their right to be or remain in the Uniteo States,"
      In connection with the above suggestion the report of tile President's Commission
      on Migratory Labor, Migratory Labor in American Agriculture, March 20, 1951,
     states,
               "The authority Is clear for an immigration officer to enter private property
            If he has a warrant; without a warrant he may enter If a deportable alien
            is known to be on the property who Is likely to escape, The authority is not
            clear, however, for immigration officers to enter upon farms, ranches, or other
            enclosed lands to inspect or search for illegal aliens.
               "It must be noted that farms employing workers in significant numbers are
            places of employment and therefore affected with a public interest. Should
            they not be open to inspection for the enforcement of law? Under safety
            and accident prevention laws, it was long ago acknowledged that factory
            inspectors had the right to enter places of employment, Likewise, Govern-
            ment officials inspect places of employment to adminster child labor, mini-
            mum wage, maximum hours, sanitation and other lavA. The farmer's home,
            whether on his farm or elsewhere, ls,a different thing from the farm prop-
           erty on which employment occurs. Perhaps it is time we modernize our
            concept of the farm employing several workers, recqgnizing it (apart from
            the farmer's home) as not a personal castle but rather a place of employ-
           ment affected with a public interest and on which! inspections way be made
           In the enforcement of law.
               "Statutory clarfflcatton on the above points will aid in taking action
            against the conveyors and receivers of the wetback. These clarifications of
           the ptatUte, together with increased funds and personnel for enforcement,
           are possibly all that are needed to deal effectively with tile smuggler and
           the intermediary."
        'Th0 Department of . tice recommends that a provision be added to the bill
     W 61emit'Alten inmeoers of the Ained forces of tea United States from the re-
       (u4i'oen t of the b'A ratng     to immtxgerion. PVwticularly in view of the present
     Intornatiopal-uitiw*tdo,' it becomes frequently necessary for tihe Axmed rorcca
     of the' United stAe'16 bring Into or take out 'of the United States members
     of the Atrm4 Vl res, BOh persons May be aliens., Upon a literal reading of
     too bill it *      mppeir 'that such aliens would be subject to tho limitations
     cti*1tt    in :tlid bill '      t0 the right to depart from the United States during
     t0e i     og        r0
                          a , national emergency. In view of the duties imposed upon
     tim"'4toin      M'nne'al aiod    q the Immlgrato'n and Natulaliation Service with
    re,    t t         limi ratl n 0f alhins, it becomess of evkn more importance to
    c t           "      et'&'the' . Iet
                                      S bill
                                        A. upon te 9qtry or a'ipval in the Uniteo States
    of     h' mhiei 'wh aar coining tO thi'l beuntry under military orders. It appears

                                   i
                                   It
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      that so long as an alien is a member of the Armed Forces of the United States,
      and is coming to or departing from the United States under military orders, the
      provisions of title II with respect to the arrival and departure of aliens should
      not be applicable to him. Otherwise, unless administratively determined to
      the contrary, it would be necessary to delay and impede the activities of the
      Armed Forces until each requirement of this title is complied with. It is recom-
      mended that such matters ought not to be left to administrative interpretations,
      but rather, that Congress should express its policy in this bill. A recommenda-
      tion of similar nature was made by the Department in a letter dated February
      19, 1051, to the chairman of the Senate Committee on Armed Services In connec-
      tion with a report on S.237, a bill to amend the act of June 80, 1950 (Public Law
      597, 81st Cong.), relating to the enlistment of aliens in the Regular Army.
      Accordingly, it Is suggested that a new section, 293, be added to the bill at the
      end of title II, reading as follows:
                                 MEMBERS OF T1I1 ARMED FORCES
         Section 293:
               "Nothing contained in title II of this Act shall be construed so as to limit,
            restrict, deny, or affect the coming into or departure from the United States
            of an alien member of the Armed Forcuq of the United Stotes who is in the
            uniform of, or who bears documents identifying him as a member of, such
            armed forces, and who is coining to or departing from the United States under
            official orders or permit of such armed forces: Provided, That nothing con-
            tained in this section shall be construed to give to or confer upon any such
            alien any other privileges, rights, benefits, exemptions, or immunities under
            this Act, which are not otherwise specifically granted by this Act."
          Section 811: This section changes existing law by removing all racial bars to
       naturalization, thus giving effect to one phase of the legislative program which
       the President and this Department have recommended for several years,
         Section 824 (d) : This subsection provides that any woman who was "eligible
       to regain citizenship" under section 817 (b) of the Nationality Act of 1940, or
       under the provisions of the act of June 25, 1930, as amended July 2, 1949 (49
       Stat. 1917, 54 Stat, 715), who failed to take the oath of allegiance prescribed
       under those laws before the effective date of this bill may regain citizenship by
       taking an oath of allegiance within 2 years after that date. Upon taking such
       oath, In the case of a woman whose marriage has terminated, she will be deemed
       to be a citizen of the United States as of June 25, 1936, or as of the date of
       termination of marriage, whichever is later. In the case of a woman whose
       marriage lhs not terminated, she shall be deemed t.o be a citizen as of July 2, 1940.
       Any woman who fails to take the oath within 2 years shall be deemed to have
       remained an alien from and after the date of her marriage. This subsection
       contains a proviso that nothing contained therein. shall be deemed to affect the
       cluim to citizenship under the act of June 25, 1930, or citizenship rights flowing
       therefrom, of any woman who died prior to the effective date of this act.
          If this subsection is enacted many serious administrative problems will be
       presented. That is true because it has been the administrative view of the
       Immigration and Naturalization Service since the enactment of the 1936 act that
       under that act, as well as its amendment in 1940, former women citizens are
       restored automatically to citizenship, although they were not to have or claim any
       rights as citizens until they took the oath of allegiance. In many such cases these
       women have never taken the oath of allegiance, but nevertheless they may have
       been advised by the Service that they are regarded as having been restored to
       United States citizenship. In many cases the children of such women have been
       adjudicated to be citizens of the United States through the mother's citizenship
       status. Many husbands of such women have filed petitions for citizenship and
       have been admitted to that states upon the basis of the wife's status.
          The effect of the enactment of this subsection would be to declare that the
       previous vitwo of the Service have been erroneous and would unquestionably
       cause confusion. Such women will have only two years after the effective date of
       the bill to take the necessary oath. There seems little doubt that many such
       women will not be aware of this new section and will not take such an oath within
       the 2-year period. The Service-views regarding the interpretation of the 1936
       and 1940 acts have been upheld by many courts throughout the United States
        (many of the decisions of which are unreported), although there have been some
       contrary decisions. The proviso indicates that certain women who diel, even
       though they did not take the oath of allegiance under existing law illl            be
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     regarded as having been citizens, and the rights of (,hlldren or spouses, dependent
     -upon the rights of such a woman, will not be affected by this bill, The diiculties
     which will arise it this subsection is enacted are even more apparent when it
      is observed that the statutes referred to, that is the acts of 1930 und 1040, aro no
     longer in existence,
         Accordingly, it is recommended that a subsection, in lieu of the proposed sev.
      tion 824 (d) be enacted, declaring that all women who fall within the purview
     of the act of June 25, 1080, as amended, are and have been citizens of the United
     States.
         Section 885 (e) : The Department calls attention to the fact that under existing
      law, once a petition for naturalization Is filed in a particular court, it must be
     heard and disposed of In that court, Neither existing law, nor the bill, provides a
      means whereby the renue of a petition for naturalization may he clanged after
      the petition is filed. Many filws the final hearing consists of nothing more than
     an acceptance by tle court oi' the designated examiner's recommendation and the
      taking of the cath ox allegiance by the petitioner, Frequently, a petitioner moves
      his residence, after hi s 'ptltion is filed, to places far distant from the court where
     he filed lis petition.     'he Departnent feels that much hardship could be avoided
      If a provision were included In title III of the bill permitting the transfer of a
      Petition for naturalization to another court for hearing and disposition after It
      hs been filed. However, a transfer of the petition should not be permitted unless
      the Attorney General has given his consent and unless the courts from and to
      which the petition is being moved also give their consent. By requiring the
      Attorney General's consent to the transfer of a petition, fraud will be prevented,
      and the petitioner will be restricted in any attempt to have a petition transferred
      for final hearing upon the basis of a fictitious change of residence made for some
      improper purpose, With these limitations, the Department suggests the dosir-
     ability of Indluding in the bill a provIslon permitting transfer of petitions, for
      naturaltZation for final hearing.
         Section 880 (e) : This subsection changes existing law by permitting the hold-
      ing of final naturalisation hearings within the 60-day period preceding the hold.
      lag of a general election, However, It retains the present provisions forbidding
     the holding of a final hearing within 80 days aftor tiling the petitIon, The I~epart-
      ment has sponsored legislation which would amend existing law so as to eliminate
      the requirement that a final hearing may not be held within 00 dys preceding
      a general election, and also to permit the Commlssioner to waive the requirmllent
      that a final hearing may not be held within 80 days after filing a tittlon for nnt-
      nrallatl6n, It is recommended that the substance of the Department's recon-
      inendation be Incorporated In the bill in lieu of section 380 (c).
         Section 887 Tlis section changes existing law by removing the privilege which
      was authorized under the Internal Security Act of 1950 whereby certain allens
        tight be permitted to Gelect an alternate oath of allegiance in connection with
      their wituralimation, As drafted, the bill would apparently require every alien
      wrho ts petitioning for naturalization to take an oath of allegiance that, with
      respac t to the bearing of arms, he will do whatever is reqtilred of hln by law,
      N it'the actual beating of arms, the performance of service in a noncombatant
        apaclty in theArme4 Forces, and the rendition of work of national importance
      u dr  e ivlian direction. Since It appears that the obligations which the alien
      apple tit or nturfilatitton by his oath declares a willingness to undertake are
      similar to t ose which are customarily imposed upon native.born citizens of the
        .nutodeState$, t ' proposed Qhange in exIstilg law seenisdesirable.
          S'dct'1qf 860 ThiS0eetion provides for the Institution of a judivIal proceeding
       hga~t.,         ereetltive department or Independent agency, foe determining the
      atibt tIttUN of any person who is denied the right or privilege as a national
              lie 4 StoMtes by, such executive agency, or any executive official thereof.
             Waetln gvlable (,hlY to persons WhO are within the Unllte States, No
         qh se~l, znmsye intituted in any tase If the issue of such person's status
         Sn0101 at(l1 of 0t     United States (1) arose by, eaeoq of or In connection with
     .         ' t tion 'orelusion prove, dOn, or, (2) Is In Issue in any Mich deports.
               5egt i0Ato *4jpod to place section 8 of the Nationality Act of I40.
     'i ia~t sqctionr' tt individuals whQ are den*e privitog as nationals of the
     3JIIted, 0t.t        ig aj indidial aetton to teat the lftality of such a dental.
     ,.q~ever, sei0n         anthorles ,a person who Is outside the United States to
                    COq ry f ter ring iuoh a suit to order to prosedute It to a conein-
                tho lt~i
              ?rev iste    Vadefor Jlp. deportatlo if the epurt finding is thet he is

                                     /                        ,•
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      not a national of the United States. A certificate of idetiity is granted to such
       t [irson by a consular otlieer, and, in case of refusal to issue such a certiflcnte,
      allalppllail to the Secretary of State Is authorized.
         Section 80 Is obviously Intended to prevent tile            Institution of a judicial action
      to review findingsImade in ati exclusion or deportation proceodling while such
      prceedings are pending, or have been concluded. UInder the l'ngkiage of the
      smmtion, it would appear that even though tile            deportation or exclusion proceed-
      lInglly have terminated, this remedy will. not lie            available to any persoal for the
      purilise of obtaining Judilal review of any Issue of cltisenship or nationality
      which may have arisen il cOnnection with, or by reasOn of, such deportation or
      exclusion proceeding, Tho remedy of ilabens corpus would, of course, still be
      available.
           i'to Ielmrtnient of Justice objects to file entlctment of section 8M0 unless it is
      amended to provide for the protection of persons abroad who have morels than
      a frivolous claim to cltizensilp) but who are unablo to obtain a United States
      lasspiort, To protect sucllh persons tile epartnlent rocomnends adding to sec-
      tion 1360langttge which would perlnit tile Issuanlco to such persons of itspIeli|
      certitlcato of Identity or a special                   That document should be descrlibed
                                                             Tvisit,
      III Suclh a lIniier Lisallerely     to lnt11h01 1 1(1143l'011     ill qlustlOIl to p]ro4eMd to a
      port in the United States and apply for admlsslon as a national,'in the usual
      mtanlner,     If his i illcnton for admission as a nitlonal of the Unitedl              States Is
      adlnnilsilratively denied, tlhe applicant will lulve review throughn habeas corpus
      In the United States courts InI the usual mlallner, Ho\wov'er, tile intent of thils
      sluggestlon is that tie p rson claiming eitizenship shall lieretitred to apply for
      adilllssion to the United States at a port of enlry alid gosthrough the ustual screen.
      Ing, Interrogation, and investigation, alppllcable in tile casess             of otler peisols
      seeking adminssion to the UnIted States, so that th' Innlgratloll and Naturaliza.
       (loll Servico will  have lasComllete   ita record i14     possible oileach 11rs01 t'lli'rinllIg
      thiscould ry clalInlng to 140Itnational thereof,
         Sectito 401 (1): lhls stlltsetlo
                                       t1          lllaIlnlIs secti(o1 202 of the ll(t      of June 5,
      1)50 (Public Law 5315, si1 Cong., 2d sess.), known as Ihlie             (1htim Ara Aid Act of
      1050, Tie last proviso of section 202 Illks avallable munteys to the Socretary of
      State, to bo expended lln     dr snll reglihitlols Itsi1'lllly prescribe, for certain ex.
     ] llSeS    of selected cltimells of Chllnafor study, teehing, reesavlch,         and robllted aca-
     4e111 llnd tedlllllil aCtvIlties in) ihe nIled Stlttes. Th prolvlso further author-
     15(5 and dlrecis the Attorney generall tolpromulllgalte rttgllalhims provltdlng that
     such selected cltizelli (f chilt who have I'ell atilllttld to 1il4             United States for
     tile purpose of study 911111114 granted ilrltdssisllon 1( a('ceplt em)loylntliet 111o1appli.
      cation filed     with the (Colllimsloslr of lnnilgitloll alld Naturalization. Such
     regtintlo s have re4,eltly bcen Issled, Section 401 (1) would (elete that portion
      of the proviso whiei uttllorm allot1,llrects the Attorlney General to promlllgate
     regilat tollS governilig the o(nployllellt of stlldent aluflted under tile act.
      Tilt, effect would le to etfelt (e41 of the pulrploml of the llat Area Ald Act
      wlich wis to tlenellt as Inllnitli4h4llts         ilS liom5llile by conservation of the fund
     allocated for Hitchltse, 1he conser\.flion to bWeffected, of course, by permitting
     tIle Stlldents    to cami part, at least, of the cost of their innlltellalce. Therefore,
      tie )epa rtlnent favors tile oliminaton of subject toll 401 1).
         Sectloll 402 (a) : In conneetl on witl tills provision, the Department wishes to
     call attentiloll to seetion 8 (it) (2) of the PIl'1p1ne IndeIllutlelnce Act (47 Stit.
     7117; 48 Stat. 40P). That section pioviles tiut (Itl5011s of the Philippil e Islands
      who are not citizells of the United States fiall not be adlllitted to the continental
      United States from tile Torrltory of llwali, Iuless they are Included In the
     nollnllligrllt classes d serllbed In section 3 of the 1024 act, or tile classes of
     nolnqota illlflgrants described inI setlon 4 of that act (other than subtdivislon
      (c) therewof), or unless they were ndullttel to HawIwail tndor all lllmlgratlon vIsa,
     Notwithstanding the indepeldence oi'th Phillipine Islands on July 4, 1946,
     tills section has been a adnlnls'ratively Interpreted Itsrolmatnlng in effect, It
     h1as never been specifically relelled. It In lnown tllt "InIy thouslllnds of
     Phllilippino citizens were adnillteld to Hawaii wtllhout Immligrant vilts and with.
     oist inspection under tile imtnlgrton iaws I vIew of the fact that tiley were
     nationals of the United states when Idutlttod, Section 8 (a) (2, referred to
     above, was undoubtedly Intended to prevent l Inhlfllx of such aliens into the
     conltiental United States to compete with American labor.
         A question of legislative policy to be deternied by the Oongress Is whether
     sucl allels shall become admissible to the continental United States merely
     because they canl comply with tie provisions of section 212 (d) (7) of this
     bill, or whether the li'nitations contained il section 8 (a) (2) of the Philippine
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     Independence Act shall be carried forward. If the latter policy is decided upon,
     it Is suggested that a change in the bill should be made so is to indicate clearly
     this purpose. If section $ (a) (2) is not to remalid In effect, it is recommended
     that it be listed in section 402 (a) with other statutes specifically repealed.
        Section 404: This section permits the Secretary of State to make regulations
     for the performance of duties under this legislation by diplomatic and consular
     officers abroad without a recommendation from the Attorney General. Under
     the acts of May 26, 1924, and June 14, 1940, such a recommendation has been
     required. According to records of the Immigration and Naturalization Service,
     when the Immigration Act of 1924 was under consideration by the Congress, the
     then Secretary of State, Charles Evans Hughes, in a letter to the committee
     which was considering the proposed act, suggested that in is opinion the rules
     and regulations, so far as they related to consular officers, should be prescribed
     by the Secretary of State upon the recommendation of the Commissioner General
      (of Immigration). The Department believes that when a single body of law
     is to be administered by two ranches of the executive department, the interest of
     good administration and coordinated action is best served by                    in those
                                                                                         concurrence
     regulations which govern the application of the law by consular officers abroad,
     since the primary responsibility for the enforcement of the law vill lie with the
     Immigration and Naturalization Service in this country. It Is recommended,
     therefore, that the present law on this subject be retained. (See sec. 24, act of
     May 26, 1924.)
        Section 405 (a) : This subsection contains a general savings clause designed
     to save and preserve the validity of various documents and proceedings, Including
     declarations of intention, petitions for naturalization, certificates of naturaliza-
     tion and of citizenship, warrants of arrest or of deportation, and orders of
     deportation or of exclusion. It is further provided here that nothing contained
     in the bill shall affect any proceedings or actions, etc., which may he pending on
     the effective date of the bill. As to any such proceedings, actions, etc., the
     repealed statutes are continued in force and effect unless otherwise specifically
     provided.
        The Department calls attention to the fact that under section 284 (b) of the
     bill, certain monies are to be paid by designated carriers to the Attorney
     General. Subsection (c) of section 284 refers to the crediting of tle appropria-
     tion of the Immigration and Naturalization Service for monies collected on or
     after July 1, 1941. It is apparel t, therefore, that certain carriers may have an
     obligation to pay various amounts to the Government which will not be enforceable
     unless a specific mention thereof is made in the savings clause. There are other
     liabilities and obligations, such as, for example, liability to fines or other penalties
     under existing law, which should be saved specifically in this section, Accord.
     Ingly, it is suggested that on page 277, line 20, immediately following the word
     41thing," there be inserted "liability, obligation,". Similarly, on line 23, page 277,
     following the word "things," there should be Inserted "liabilities, obligations,".
        Section 407: This section provides that the bill shall take effect 90 days follow-
     Ing the date of its enactment. Considering that this bill codifies all and revises
     many of the provisions of laws relating to immigration, naturalization and nation.
     ality, the Department believes that a 90-day deferred effective date does not
     provide suficient time for the Government departments concerned to prepare
     the forms, instructions, and regulations which will be necessary for tle admin.
     istrAtion and enforcement of the act. Consequently, it is recommended that the
     bill provide for a 8-month delayed effective date.
       -The Director of the Bureau of the Budget has advised that while the amend-
     ment smgeoted herein, if adopted, would result in much improvement in the
     legislation, in view of the complexity of many of the provisions of the bill, he
     U unable, at this time, to advise whether the measure, even if amended as sug-
     gested by the Department of Justice, would be in accord with the program of
     the President. , ,
             Yours sincerely,
                                                                        PRYToW FORD,
                                                              Deputy Attorney General
